         Case 2:23-cv-01294-MHH Document 1 Filed 09/28/23 Page 1 of 33                        FILED
                                                                                     2023 Sep-29 AM 09:13
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

                                           )
CAMILLA THOMPSON, ROB                      )
BURTON, ALICE SPEAKE,                      )
                                           )
Plaintiffs,                                ) Case No:_____________________
                                           )          JURY DEMAND
                                           )
v.                                         )
                                           )
ALICE WILLIAMS, JIMMIE                     )
COLEMAN, WILLIAM HARDEN,                   )
CITY OF BIRMINGHAM,                        )
                                           )
Defendants.

                COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW, the Plaintiff and files this lawsuit alleging various causes of action

against the Defendants as follows:


                                  INTRODUCTION

     1. This action seeks declaratory and injunctive relief against Defendants for

        their actions during and following the 2022 Glen Iris Neighborhood

        Association Election in Birmingham, in which Defendants have attempted to

        deprived Plaintiff of her due process rights to participate in the election as a

        candidate and have thus far prevented her from taking office despite having

        won the election for neighborhood vice president.



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   2. Defendant City of Birmingham receives federal funds under the Community

       Development Block Grant program (CDBG), under which it is required to

       implement a “citizen participation plan,” the guidelines for which are largely

       set forward in 24 CFR 91.105. Birmingham’s chosen citizen participation

       plan1 sets up Neighborhood Associations and lays out the process by which

       the leadership of these associations are to be elected. Having put forth these

       guidelines, Birmingham is obligated to abide by them.

   3. The Citizens Advisory Board (“CAB”) is the highest body operating as part

       of Birmingham’s Citizen Participation Plan. The leaders of the 99

       Birmingham neighborhoods serve on Community Advisory Committees,

       and the 23 presidents of the city’s Community Advisory Committees serve

       on CAB.

   4. The Citizens Advisory Board, as well as the neighborhood associations

       organized underneath CAB, was created in the 1970s in the wake of

       Birmingham’s civil rights struggle. Birmingham citizens protested a citizen

       participation plan that had been created by the city in collaboration with the

       business-oriented group Operation New Birmingham. The citizens

       demanded that all representatives provided for by the plan be elected instead

       of appointed, and that Operation New Birmingham not be involved. CAB


1 https://www.birminghamal.gov/wp-content/uploads/2020/12/HUD-CPP_rev12.2020.pdf




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   and the neighborhood associations were thus created in order to provide the

   citizens of Birmingham with further elected representation who was not

   beholden to the interests of developers, corporations, and other business

   groups.

                      JURISDICTION AND VENUE

5. Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. §, 1331,

   1343(4), and §2201 and/or 42 U.S.C. §3613 in that the claims alleged herein

   arise under the laws of the United States.

6. Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and

   1391(c), because the acts and omissions complained of herein occurred in

   this District, and because, at all times material and relevant, defendants

   resided in and transacted business in this District.

                                  PARTIES
7. Plaintiff Camilla Thompson (“Thompson”) lives and resides, and at all times

   relevant lived and resided, in the Glen Iris neighborhood of Birmingham.

   She is over the age of 19 years old.

8. Defendant Alice Williams (“Williams”) is the deputy director of the

   Community Resource Services Division (“CRSD”) of Birmingham. The

   CRSD is largely charged with implementing the community participation

   plan, including overseeing the neighborhood elections. Williams is over the



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   age of 19 years old and resides in Jefferson County. At all times relevant,

   Williams acted as the official policymaker for Defendant City of

   Birmingham regarding the neighborhood association elections.

9. Defendant Jimmie Coleman (“Coleman”) is the president of the Citizens

   Advisory Board (“CAB”). Coleman is over the age of 19 years old and

   resides in Jefferson County.

10.Defendant William Harden (“Harden”) is the vice president of CAB. Harden

   is over the age of 19 years old and resides in Jefferson County.

11.The Defendant, City of Birmingham, is a municipal corporation and is

   located in the jurisdiction of the Northern District.

12.Elected officials, appointed officials, principals, executive officers, office

   managers, office staff, maintenance staff, security personnel, and employees

   for the aforementioned Defendants act as employees, agents, or

   representatives of Defendants in doing the acts or in omitting to act as

   alleged in this Complaint, and said employees or representatives acted

   within the course and scope of his or her actual or apparent authority

   pursuant to such agency or employment; or the alleged acts or omissions of

   such employees or representatives were subsequently ratified and adopted by

   Defendants as principals.

                                    FACTS



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13.The federal Community Development Block Grant program, in 24 CFR §

   91.225, requires funding recipients to certify that they are in “full

   compliance and following a detailed citizen participation plan” that satisfies

   the requirements set forth in 24 CFR § 91.105.

14.24 CFR § 91.105 states that funding recipients are “required to adopt a

   citizen participation plan that sets forth the jurisdiction’s policies and

   procedures for citizen participation,” and that “[t]he jurisdiction must follow

   its citizen participation plan.” (emphasis added).

15.§ 91.105 also states that the plan “must provide for and encourage citizens to

   participate” and that the jurisdiction “must take appropriate actions to

   encourage the participation of all its citizens.”

16.§ 91.105 further requires that the jurisdiction “provide residents of the

   community…with reasonable and timely access to information and records

   relating to the jurisdiction’s consolidated plan.”

17.One of the functions of Birmingham’s Citizen Participation Plan, stated

   within the plan itself, is “to fulfill the requirements of citizen involvement in

   the Community Development Program of the City of Birmingham under

   guidelines established by the Department of Housing and Urban

   Development (HUD) for the Housing and Community Development Acts.”

   This section of the plan alleges that Birmingham is thus “in compliance with



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   [24 CFR §] 570.303,” which simply requires the city to make the

   certification described in Paragraph 11 above.

18.Birmingham’s Citizen Participation Plan (“the plan”) provides that “[A]ny

   resident of the City of Birmingham who is at least eighteen (18) years of

   age, has resided in the neighborhood for at least one hundred twenty (120)

   days prior to the Declaration of Candidacy deadline and who has attended at

   least four (4) of that neighborhood’s meetings during the previous twelve

   (12) months prior to the Declaration of Candidacy deadline, is eligible to run

   for neighborhood office.”

19.The plan states that a neighborhood office becomes vacant if the officer is

   convicted of a felony or misses three consecutive meetings without an

   acceptable excuse, but does not provide any method by which the Citizens

   Advisory Board can remove neighborhood officers.

20.On January 31, 2022, the CRSD published a timeline stating the following:

      a. Any individual who wishes to run for office must be a resident of the

         neighborhood by May 9, 2022

      b. All absentee ballots, with proof of residency, must be postmarked, and

         returned to CRSD, by October 11, 2022

      c. Individuals interested in running for office must submit Declaration of

         Candidacy form by September 6, 2022



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      d. The official Ballot will be completed and published on the CRSD

         webpage on September 9, 2022

      e. Voters may cast their vote via Absentee Ballot in person at City Hall

         from September 26 - October 11, 2022

      f. Election Day will be Tuesday, October 18, 2022

21.Plaintiff Thompson has lived and resided in the Glen Iris neighborhood of

   Birmingham since well prior to May 9, 2022.

22.In the spring of 2022, Scott Capps (“Capps”) was the neighborhood

   president of the Glen Iris Neighborhood Association (“GINA”) and Rob

   Burton (“Burton”) was the secretary.

23.Capps had previously communicated to Burton that he would not be running

   again and wanted Burton to run for president of GINA in the 2022 elections.

24.At some point in the spring of 2022, Birmingham mayor Randall Woodfin

   learned that Burton was planning to run for president of GINA. Capps later

   told Burton that Woodfin had directly asked Capps to run again for President

   of GINA after all.

25.Defendant Williams had been appointed by Mayor Woodfin to run the

   CRSD in 2019 and works closely with Woodfin in her current position.

26.On August 12, 2022, Defendant Williams sent out an email to 2021-2022

   neighborhood officers about the 2022 Citywide Neighborhood Officer



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   Election. This email included an election timeline, absentee ballot

   procedures, the first release of the 2022 Declaration of Candidacy form, and

   other relevant information.

27.“The timeline listed was as follows:

      a. Candidate Declaration Deadline – September 6, 2022

      b. Absentee Ballot Request Deadline - September 13,2022

      c. Absentee in person voting at City Hall, Community Resource Services

         Division, September 26-October 11, 8:00 a.m. to 5:00 p.m. (Valid

         identification and proof and residency required)

      d. All stamp dated absentee and petition ballots w/proof of residency

         due- October 11, 2022

      e. Election Date – October 18, 2022

      f. Election Contest Submission Deadline – November 1, 2022”

28.At some point, Williams has stated that CRSD is not equipped to be

   managing these neighborhood elections.

29.According to the 2022 Declaration of Candidacy form, in order to qualify to

   run for office during the October 18, 2022 election, residents had to fulfill

   the following requirements: 1) Must be 18 years old or older, 2) Have been a

   resident of this neighborhood since June 20, 2022, 3) Have attended at least

   four (4) neighborhood meetings during the previous twelve (12) months



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   prior to the September 6, 2022, deadline.

30.The Declaration of Candidacy form did not require or even include the

   submission of any form of ID. It required prospective candidates include

   their name, phone number, address, zip code, neighborhood of residence,

   office they will be running for, and to sign and date the form.

31.By the end of the business day of September 6, 2022, five residents of Glen

   Iris submitted their Declaration of Candidacy form to the Community

   Resource Services Division. This included two residents for president (Rob

   Burton and Scott Capps), two residents for vice president (Camilla

   Thompson and Doug Edmonson), and one resident for secretary (Alice

   Speake). Rob Burton, Camilla Thompson, and Alice Speake all submitted

   their form by email on September 6, 2022, and all received email responses

   back acknowledging that their forms were received.

32.Following these qualifications, Burton, Thompson, and Speake were largely

   seen as running as a “slate” of candidates.

33.The CRSD did not publish any official ballot on their web page by

   September 9, 2022 as the department said that it would.

34.On September 14, 2022, the Birmingham City Council voted to set the date

   for the 2022 Citywide Neighborhood Officer Elections as Tuesday, October

   18, 2022. This is the date that was proposed by the CRSD.



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35.On September 16, 2022, Speake received an email from the CRSD that

   stated that she did not qualify to run for GINA office, but that if she had any

   questions she could contact the CRSD office. The same day, Burton (serving

   as Neighborhood Secretary at this time) was contacted about the issue and

   spoke with Defendant Williams over the phone. He was told that Speake was

   disqualified for not attending enough meetings. Immediately after the phone

   call he forwarded the previous emails he sent to the CRSD that included

   attendance sheets where Speake was listed as in attendance. Additionally,

   Speake then emailed Defendant Williams to specify the exact months she

   was in attendance, and to request for the ballots to not be published until the

   issue was resolved.

36.During the week of September 19, 2022, after reviewing all documents

   submitted to their office, the CRSD deemed all five candidates in Glen Iris

   to be qualified, and listed all five qualified candidates on the official ballot

   for the Glen Iris Neighborhood Association election ballot, to be held on

   October 18, 2022.

37.On September 22, 2022, the CRSD finalized the election polling locations

   for October 18, 2022, and began distributing that information. This included

   four polling locations for Election Day. Voters were allowed to vote at any

   of the four precincts, regardless of which neighborhood they resided in.



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   Residents were simply told they needed to bring an ID and proof of

   residency with them to the polls.

38.October 11, 2022 was the last day of In Person Absentee Voting. Thompson,

   Speake, and Burton went into Birmingham City Hall together and voted via

   In Person Absentee Ballot. None of the persons listed had any issues

   submitting an ID, proof of residence, or casting a ballot.

39.The Citywide Neighborhood Officer Election, managed by the CRSD, was

   held on October 18, 2022.

40.On October 21, 2022, the CRSD published the Unofficial Election Results

   and the process for contesting. This information was also sent out by email

   from Defendant Williams.

41.According to the Unofficial Results of the Glen Iris Neighborhood

   Association 2022 Officer Elections, Rob Burton won the election for

   President (with 66 votes) vs Scott Capps (with 39 votes), Camilla Thompson

   won the election for Vice President (with 55 votes) vs Doug Edmonson

   (with 49 votes) and one vote cast for a write in candidate, and Alice Speake

   won the election for Secretary with 73 votes with 23 write in votes cast

   amongst 7 names. All three candidates who won the vote count in the

   unofficial vote count were deemed qualified candidates by the CRSD and

   were listed on the official election ballot.



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42.According to the CRSD, any citizen may formally contest the result of an

   election in which he or she was a candidate. A contest may occur for the

   following reasons: “1) The contester claims that the election was not carried

   out in accordance with the procedure established in the Citizen Participation

   Plan and that the failure to carry out these procedures altered the results of

   the election. 2) The contester claims that persons were not allowed to vote to

   such an extent that the results would have been charged if the votes of such

   persons, whether challenged or not, were properly counted. All election

   contests must be in writing, signed and dated by the candidate contesting the

   election, and include in detail all of the allegations of infractions upon which

   the election is contested.” Any contestations were to be received by the

   Supervisor of the CRSD, Deputy Director, Alice Williams, no later than

   5:00 pm on Tuesday, November 1, 2022.

43.No candidate in the Glen Iris Neighborhood Association contested the

   results of the election before the November 1, 2022 deadline.

44.The document submitted to the City Council on January 17, 2023, by the

   Community Resource Services Division for the certification of the 2022

   Neighborhood Officer Election did not include the official results for all

   candidates, only the vote counts for the candidates they listed as the winner.

   Additionally, it included inaccurate information stating candidates that were



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   listed on the ballot were write-in candidates, information that showed

   candidates who lost the vote count in the unofficial tally were the winner,

   and other discrepancies.

45.Despite these discrepancies, on Tuesday, January 17, 2023 the Birmingham

   City Council passed an ordinance to certify this document as the Official

   Tally Results. Regarding the results in the Glen Iris Neighborhood

   Association, the ordinance passed by the Birmingham City Council to certify

   the 2022 Neighborhood Officer Election stated that Doug Edmonson was the

   winner of the Glen Iris Neighborhood Association Vice Presidential election

   contest, despite having the same vote count listed in the Unofficial Tally,

   and it only included Alice Speake’s vote count as 20 votes and labeled as a

   “write-in” candidate, despite the unofficial tally listing her as having

   received 73 votes. All 53 election day votes for Alice Speake were missing

   from the Official Tally Results.

46.On January 20, 2023, Doug Edmonson (“Edmonson”) contacted Rob

   Burton, both via text (8:23 AM), and then via a phone call. Edmonson stated

   that he had been contacted by CRSD, and was invited to the January 31,

   2023 Officer Swear In Ceremony.

47.Edmonson stated that he knew he lost, and wanted help looking into it. He

   also let Burton know the Official Tally Results were posted online.



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48.Burton reviewed the Official Tally Results, immediately noticed the issues

   with both the VP and Secretary results in Glen Iris, as well as multiple

   discrepancies in other neighborhoods. He then called and spoke with

   Defendant Williams over the phone.

49.When asked about why Speake was listed as a “write in candidate” on the

   Official Tally, Defendant Williams immediately reviewed, acknowledged

   that that was a mistake, and then said that CRSD can always make edits to

   correct any mistakes listed in the Official Tally Results, and bring that back

   to the Birmingham City Council for recertification.

50.When about the “missing” election day votes for Speake, Williams opened

   the electronic documents to review Speake’s vote totals. Williams first stated

   that someone must have edited the document who was not supposed to.

   Williams has stated similar comments during future public meetings,

   including at future Glen iris Neighborhood Association meetings.

51.Williams then let Burton know that Speake had approximately 35 votes cast

   for her at the Memorial Park precinct. Williams then stated that Speake also

   received votes from another precinct, but that she would have to give Burton

   a call back with that information.

52.Williams said any candidate could come down to City Hall, and they would

   be happy to open up their books with the candidate to show the tally. The



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   two agreed that Burton would come down to do that.

53.When asked about Thompson’s vote total, Williams said Thompson had 30

   votes cast for her at the Memorial Park precinct, and that she would have to

   get back with him in a few days about Thompson’s total votes.

54.From January 23, 2023 to January 25, 2023, there were continued efforts by

   Burton, Thompson, and Speake to find out the correct vote totals. This

   included both in person meetings, and additional phone calls. All of these

   communications were recorded.

55.On January 23, 2023, Thompson, Speake, and Burton went to City Hall to

   meet with CRSD employee Flora, at the suggestion of Williams. Flora said

   that she could not pull up the exact number at that exact moment, and she

   would call them with the exact vote totals later that day. That never

   happened.

56.On January 27, 2023, Williams called Burton and stated the following:

      a. She had the final results for Speake (at 70 votes) and Thompson (at 55

         votes). As such, Thompson was the winner of the VP election for

         Glen Iris.

      b. She had already spoken to Edmonson, who recognized that he lost.

      c. Thompson was officially invited to the Officer Swearing-In Ceremony

         on January 31, 2023. Williams stated she would also contact



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         Thompson directly to invite her. It is unclear if that ever happened.

      d. The CRSD would bring the issue back to the Birmingham City

         Council for recertification, but likely not before the swearing-in.

      e. Williams would contact Councilor Valerie Abbott (“Abbott”) to let

         her know of the situation.

57.As expected, the CRSD did not bring the recertification issue to the

   Birmingham City Council meeting on January 31, 2023.

58.Abbott asked questions during the Birmingham City Council meeting on

   January 31, 2023. In particular, she asked about residents being invited to be

   sworn in when they still had not been certified by the Birmingham City

   Council.

59.The CRSD never contacted Burton or Thompson on January 31, 2023.

   Burton tried calling Williams that afternoon, but it went straight to

   voicemail.

60.Thompson and Burton arrived at the Officer Swearing-In Ceremony

   together.

61.Burton signed in next to his name, listed on the sign-in sheet as Glen Iris

   President.

62.The Glen Iris VP position was listed on the sheet as “vacant”. Assuming a

   mistake, Thompson attempted to sign in, and was told by CRSD staff



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        member Flora that she could not sign in there. Burton and Thompson asked

        to speak with Williams.

    63.Williams said that Camilla had been disqualified but did not give a reason.

        She stated that the VP position was vacant, that the CRSD would have to

        attend the February 2023 Glen Iris neighborhood meeting to announce the

        vacancy, and that there would have to be a new election during the March

        2023 neighborhood meeting. When Burton asked for more information

        about disqualification, he was unable to get answers to his questions.

    64.On February 1, 2023, CBS 42 released an initial investigative piece2 on the

        ongoing election discrepancies. It included quotes from Faith Abrahms

        (North Pratt), Doug Edmonson (Glen Iris), and representatives from the City

        of Birmingham. The article included the quote, “I told her ‘I think you made

        a mistake,’” Edmondson said. “‘I lost the election by a few votes.’”

    65.On February 6, 2023, Williams, on behalf of the CRSD, and Kelvin Datcher,

        on behalf of the Mayor’s Office, attended the February 6, 2023 GINA

        meeting. During the meeting they stated that Thompson did receive the most

        votes for Glen Iris Vice President during the 2022 Neighborhood Officer

        Election, implied they were disqualifying her because she did not submit an




2 https://www.cbs42.com/digital-exclusive/election-shenanigans-winners-and-losers-question-legitimacy-

of-birminghams-neighborhood-elections/


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   ID, and that they would be conducting an audit of the 2022 Glen Iris

   Neighborhood Association election as a whole. Thompson offered to show

   Williams her ID, and Williams explicitly rejected that offer.

66.The CRSD then stated that they would present the results of the audit to the

   Glen Iris Neighborhood Association during the Glen Iris meeting on March

   6, 2023.

67.During the February 6, 2023 GINA meeting, the Glen Iris residents passed

   the following resolution: “Let the minutes reflect that the Community

   Resource Services staff will be auditing our election results and their

   processes for ballot verification and bring those results back to us at our next

   meeting, and we will proceed from there.” The Glen Iris Neighborhood

   Association passed the resolution with a vote count of 12-1-2.

68.On February 20, 2023, Burton let the Citizens Advisory Board (CAB) know

   a short synopsis of what is happening in the Glen iris Neighborhood

   Election, and that CRSD would be conducting an audit.

69.During the March 6, 2023 GINA meeting, the Deputy Director of CRSD,

   along with the new Senior CRR, presented the “results of the election audit,”

   stating that:

      a. The official tally included the following:

              i. Total Ballots – 106



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            ii. President: Rob Burton - 64, Scott Capps - 38, No Vote Cast – 4

           iii. Vice President: Camilla Thompson - 54, Doug Edmonson - 48,

                  Hope Cooper (write in) - 1, No Vote Cast – 3

           iv. Secretary: Alice Speake - 71, All Others (write ins) - 23, No

                  Vote Cast – 12

      b. They were retroactively disqualifying the candidacy of Camilla

         Thompson.

      c. The rationale for disqualifying Thompson was that she did not submit

         an ID.

70.When asked if ID was required to be a certified candidate, Williams said

   ‘ID’s are not required to become a qualified candidate.’ Identification is

   therefore not a requirement, and should not be used to retroactively

   disqualify a candidate. Other candidates reported that they did not submit

   identification with their declaration of candidacy forms, yet CRSD

   confirmed their elections.

71.A Glen Iris resident made a motion to host an election for the Vice President

   of GINA. At first CRSD said they “would do whatever the neighborhood

   wanted,” but that although they could announce a vacancy that day, the

   election itself could not happen until the April 2023 meeting. Abbott then

   stated that there was not a vacancy, because the Birmingham City Council



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   certified Doug Edmonson as VP. CRSD told the resident that the resident

   was not allowed to make that motion at all, as they were no longer

   considering the Vice Presidential position vacant, despite the fact that to date

   no candidate had been given an opportunity to swear in.

72.The Glen Iris residents then passed the following motion: “For the City of

   Birmingham to clarify the process and validating all candidates before

   publishing their names on ballots, whereas, if your name is published on the

   ballot, you are a qualified candidate, and that the City of Birmingham

   addresses this issue, and does not retroactively eliminate any candidates who

   were previously confirmed as qualified candidates.” The motion was

   seconded and passed 30-0-3.

73.On March 13, 2023, Burton sent the motion passed by GINA and a synopsis

   of the history of the situation to the full Birmingham City Council and their

   Chiefs of Staff.

74.On March 20, 2023, Burton presented the results of the Glen Iris Election

   Audit, and brought the synopsis to distribute to the Citizens Advisory Board

   (CAB).

75.On March 23, 2023, Rob Burton received the following email from Doug

   Edmonson:

   “Rob,
   I am emailing a copy of a text that I sent you earlier just to make sure

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   you receive it. A copy of this request has also been sent to members of
   the executive committee

   Rob
   March 13th I was sworn in as VP of GINA and at that time, I
   requested CRS to notify you. At this time I am requesting to be
   recognized as VP. At some point we need to talk. I suggest this be
   done at a meeting of the executive committee. It is time to get this on
   the table and behind us and move on.
   Doug”

76.During the April 17, 2023 meeting of the Community Advisory Board, In

   response to a question for updates from William Harden, President of the

   East Pinson Valley Community & VP of the CAB, Defendant Williams

   again said that the issue was that Thompson did not submit an ID. Burton

   replied that Williams explicitly stated at the Glen Iris Neighborhood

   Association meeting that IDs were not required for qualification.

77.Williams, for the first time, then implied that the issue was that Thompson

   did not live in the Glen Iris Neighborhood.

78.Burton asked if the address on the proof of residence Thompson brought

   with her to vote was the same address that was listed on Thompson’s

   Declaration of Candidacy form. Williams said yes, they are the same

   address. Williams never gave her rationale for implying Thompson did not

   live in the neighborhood.

79.Elizabeth Sanfelippo, President of the Red Mountain Community, brought

   up that there seems to be a lot of scrutiny being placed on Thompson that

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   was not being placed on any other candidate from any neighborhood in the

   2022 Neighborhood Officer Election.

80.Speake spoke at the meeting as a public speaker. She brought up the issue

   that happened with her qualification before the election. CRSD had let her

   know that allegedly according to their records she did not qualify, and on

   what grounds. Speake was given the ability to submit follow up information

   to show her qualification, at which point CRSD conceded that Speake did

   qualify and proceeded to add her to the ballot.

81.Speake noted that the above process was not offered to Thompson, and that

   CRSD explicitly opposed Thompson’s offer to show additional

   identification or other records during the February and March Glen Iris

   Neighborhood Association meetings.

82.On April 19, 2023, during the Birmingham City Council Committee of a

   Whole Meeting, Williams gave her report once again, stating that Thompson

   had been disqualified.

83.Councilor Abbott asked questions about the section of the Community

   Participation Plan related to neighborhood elections. Councilor Abbott’s

   comment included proposing an additional edit to the Plan to require the

   submission of an ID during the qualification process, and more stringent

   voter ID rules. Referring to Thompson, Councilor Abbott also stated ‘you



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   can’t just live at your boyfriend or girlfriend's house, you must actually live

   in the neighborhood.’

84.On April 26, 2023, Speake submitted the following public records request to

   the City of Birmingham’s Public Information Office:

   Purpose of Request

   To shed light on and improve the public's understanding of the city's
   processes for citizen participation in neighborhood elections and
   other aspects of municipal planning and decision-making.
   Description of Records Requested

   Any and all communications sent to or received by the Community
   Resource Services Division, the office of Councilperson Valerie
   Abbott, and/or the Office of the Mayor regarding the 2022 Glen Iris
   Neighborhood Association election for the time period of September
   1st, 2022 to the date of this request. This includes, but is not limited
   to, communications regarding candidate qualifications and the audit of
   election results.

85.On April 29, 2023, Defendant Harden emailed Burton, CC’ing the President

   (Defendant Coleman) and Secretary of CAB, stating that the CAB

   Leadership team feels adequate answers have been given, that the City

   recognizes Doug as the winner, that the CAB Leadership now considers this

   matter closed, and that GINA should officially recognize Doug Edmonson as

   the VP of the association. He also stated that the CAB Leadership wanted to

   attend the May 1 Glen Iris Neighborhood Association meeting in order to

   discuss this matter further.



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86.Burton responded to Harden, asking that since CAB Leadership considers

   the matter closed, if they would be willing to make clear the official reason

   Thompson was disqualified.

87.Harden’s response included a statement that “Ms. Thompson submitted

   some information that led to questioning her actual residency.” Additionally

   he quoted the Citizens Participation Plan saying that for a candidate to

   qualify, they must have “resided in the neighborhood for at least one

   hundred twenty (120) days prior to the Declaration of Candidacy” and that

   “Any candidate who certifies he/she is qualified and fills out the required

   form, and is elected, but later is discovered to have falsified the declaration

   shall be declared ineligible to serve effective immediately." He stated that

   Thompson was disqualified “based on the proof or[sic] residency submitted

   on her candidacy form.”

88.After the May 1, 2023 Glen Iris Neighborhood Association Meeting, which

   was attended by CAB Leadership, CAB Leadership came to the front of the

   room with Doug Edmonson and essentially created a semicircle around

   Burton and Speake. They began to initiate the conversation about

   recognizing Edmonson as VP. Speake stated that she and her husband

   needed to leave to get home to their 9-month-old child. Defendant Coleman

   did not accept that. When Speake’s husband stated that they needed to leave,



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   Coleman stated something to the line of “I don’t care, and I don’t know who

   you are.” Coleman threatened Speake, stating that if she left without

   agreeing to recognize Edmonson, CAB would remove her from office.

89.In conversation with Burton, Harden again stated that CAB would consider

   removing Burton and/or Speake from office for “not fulfilling their positions

   adequately” due to not recognizing Edmonson.

90.Harden stated that CAB Leadership’s official position was that Thompson

   was disqualified for not living in the neighborhood.

91.Harden also stated that Thompson’s official voter registration card from the

   Alabama Secretary of State’s office, along with the official date she changed

   her voter registration, would be adequate proof of residency to prove

   qualification and that she should email these documents herself to Alice

   Williams and CAB Leadership.

92.On May 2, 2023, the City of Birmingham’s Public Information Requests

   Team responded to Speake’s Open Records Request, stating that “bulk”

   requests were not acceptable and refusing to fulfill the request

93.During the week of May 8, 2023, Speake made a public records request

   online for a copy of the Jan 31st sign-in sheet for the swearing-in ceremony

   and for the copy of the tabulations reported by Williams in the March 6th

   GINA meeting.



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94.On May 15, 2023, Thompson sent the following email, with attachments, to

   Williams and CAB Leadership (Coleman, CAB President; Harden, CAB

   VP; Adrienne Reynolds, CAB secretary) in order to submit the documents

   suggested by Harden and CAB Leadership.

   “Hello Alice Williams,

   The Citizen Advisory Board (CAB) leadership has communicated that
   the official reason the Community Resource Services Division
   disqualified my candidacy in the City of Birmingham's 2022
   Neighbourhood Officer Election was based on the concern about
   whether I lived in the Glen Iris neighborhood. As such, CAB VP
   William Harden recommended I email a copy of my Voter
   Registration Information Card from the State of Alabama's Secretary
   of State as my proof of residence, which I have attached below.
   Additionally, I have attached a screenshot from the Secretary of State
   website as well. You can see from the Alabama Secretary of State
   office (https://www.sos.alabama.gov/alabama-votes) that I have lived
   at 1907 5th Street S since well before the May 2022 requirement to
   qualify, but my residency was even listed at this address before the
   City of Birmingham's 2021 municipal election.
   As such, with this new information being submitted to your office, it
   is clear that I met all of the requirements to run for Glen Iris
   Neighborhood Association Vice President in the City of
   Birmingham's 2022 Neighborhood Association Election. I am asking
   for clarity on your office's next steps for rectificating this issue, and
   for fixing the certification of the election accordingly. I would love to
   put this item behind us as soon as possible so we can all focus on
   other matters.”

95.On May 16, 2023, Harden responded to Thompson’s email, stating:

   Good Morning Ms. Thompson,

   I was not at CAB last night so if this came up again I don't know. You
   are partially correct in the statement that I made. The other part of that
   statement that was made to Mr. Burton in regards to your voter ID

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   card was it have some a dated timestamp or have a way to show that
   address was established prior to the candidacy deadline.

   While everything you have attached does have what appears to be a
   correct address none of this information on its own as you presented it
   has anyway to confirm this was official address with the state prior to
   the candidacy deadline as none of it is dated. I also checked the state
   site with my own information as I didn't have your date of birth
   obviously.

   The state website shows my current residency and voting information
   and my voting status. As you are aware it does not confirm from a
   date perspective when that became your address or how long you
   have been at that address from the website itself. So I am not sure
   where you are seeing it shows you lived there before any particular
   date.

   At this point you have submitted quite a bit of information with the
   address in question yet none of the officially recognized information
   (i.e. state of Alabama documentation you submitted) has confirmed a
   date prior to the needed date for candidacy which is the issue with all
   the information that you have submitted. So it is still no clear as you
   say since there are still no verifiable dates. Did you happen to use the
   same state website to submit your change of address to the address the
   state website shows? If so you may have some email confirmation
   with a date or possibly an acknowledgement of receipt from the State
   of Alabama of your request from that email when you did it which
   would have a date.

   My apologies if this email has been previously addressed but I did
   want to respond to your email.”

96.In response to Thompson’s request to the Jefferson County Board of

   Registration for the official date she legally changed her address to her

   current address, Christie Forsyth, Board of Registrars for the Jefferson

   County Commission, emailed Thompson back stating that “We updated you



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        to the 1907 5th Street S address on 7/22/2021 but your original registration

        date with Jefferson County is 1/28/2016.” The email from the Jefferson

        County Board of Registrars also included an image from the Board of

        Registrar system which shows her current address and the date that she

        legally changed her address.

    97.Thompson forwarded this email from the Jefferson County Board of

        Registrars to CAB Leadership and Williams, also stating the following: “As

        requested, the official date that my residence was changed to 1907 5th Street

        S in Glen Iris (07/22/2021), from the Administrator at the Jefferson County

        Board of Registrars. Please let me know the next steps to remedy this issue.”

    98.On May 19, 2023, the Birmingham Times released an article with updates3

        about the ongoing Glen Iris neighborhood election discrepancies, also

        including it in their weekly print newspaper that was distributed on

        Thursday, May 25, 2023.

    99.On May 23, 2023, due to lack of response in the email thread with the

        information from Christie Forsyth, Jefferson County Board of Registrars,

        Thompson replies again with the following, “Hello CAB Leadership and

        Alice Williams, I have not received any email responses to my email last




3 https://www.birminghamtimes.com/2023/05/birmingham-resident-claims-she-won-a-neighborhood-

election-city-wont-let-her-serve/


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  week. I am responding to ensure y'all have received this information from

  the Jefferson County Board of Registrars that y'all requested. Please respond

  to let me know y'all have received this email.”

100.    On May 24, 2023, Harden responded via reply all stating: “Good

  Morning Ms. Thompson, It has been received.” Since this date, neither

  Thompson, Burton, nor Speake have heard from any representatives from

  either CAB, CRSD, the Birmingham City Council, the Mayor’s Office,

  Edmonson, or anyone else with more details regarding this matter.

101.    Harden has since repeated his threat to remove Burton and Speake

  from GINA office if they refuse to recognize Edmonson.

102.    Burton, Thompson, and Speake have all experienced significant

  mental health strain as a result of the false and baseless accusations and

  threats. As conscientious neighborhood leaders attempting to adequately and

  admirably represent the interests of their neighborhood’s citizens, they are

  attuned to the community’s perception of them and continue to suffer from

  significant anxiety regarding the reflection that these accusations, and the

  accompanying difficulties in carrying out the business of the neighborhood,

  have on them.

                             FIRST CLAIM
                           § 1983 Due Process



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                     All Plaintiffs against All Defendants

103.        Plaintiffs repeat, reallege, and incorporate by reference paragraphs 1-

  102 above.

104.        Defendants have deprived Plaintiff Thompson of her procedural due

  process rights to challenge and overturn the incorrect and unsupported

  proclaimed result of the GINA election for vice president.

105.        Defendants have threatened to remove Plaintiffs Burton and Speake

  from their GINA elected positions, a censure that Defendants have no legal

  method to enact.

106.        In doing the acts of which Plaintiffs complain, Defendants and their

  agents and employees intentionally and recklessly violated Plaintiffs civil

  rights.

                              SECOND CLAIM
                           § 1983 Equal Protection
                 Plaintiff Thompson against All Defendants

107.        Plaintiffs repeat, reallege, and incorporate by reference paragraphs 1-

  102 above.

108.        In retroactively demanding that Plaintiff Thompson show a specific

  form of identification in order to be qualified to run for neighborhood office,

  Defendants have held Plaintiff Thompson to standards to which no other

  candidate for neighborhood office was held.

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 109.         In refusing to accept the proof shown by Plaintiff Thompson that she

    was qualified to run for neighborhood office under the guidelines proffered

    by the CRSD, Defendants have held Plaintiff Thompson to standards to

    which no other candidate for neighborhood office was held.

 110.         In doing the acts of which Plaintiffs complain, Defendants and their

    agents and employees intentionally and recklessly violated Plaintiffs civil

    rights.

                                  THIRD CLAIM

                              Defamation – State Law

Plaintiffs Thompson and Burton; Defendants Williams, Harden, & Coleman

 111.         Plaintiffs repeat, reallege, and incorporate by reference paragraphs 1-

    102 above.

 112.         Defendants Williams, Harden, and Coleman have repeatedly stated or

    implied via public oral communication and via published written

    communication that Thompson is guilty of falsifying her identification and

    credentials to establish Thompson’s candidacy for GINA, essentially

    accusing her of voter fraud.

 113.         Defendants Williams, Harden, and Coleman have repeatedly stated or

    implied via public oral communication and via published written




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       communication that Burton supported or even assisted Thompson’s alleged

       falsifications.

     114.     Defendants Williams, Harden, and Coleman knew that their

       allegations against Thompson, and by extension their allegations against

       Burton, were false.

     115.     Defendants Williams, Harden, and Coleman made these allegations

       with the intent to lower Thompson’s and Burton’s standing within the

       community.

     116.     Defendants’ statements were made without privilege or justification.


                              PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for the following entry of judgment against
Defendants:

1.     Declaratory relief that Plaintiff was improperly held ineligible to run for
       neighborhood office;

2.     Injunctive relief requiring Defendants to recognize Plaintiff as having won
       the 2022 election for Glen Iris Neighborhood Association Vice President,
       and requiring Defendants to introduce a corrective item to the Birmingham
       City Council for the Council to verify the corrected election result;

3.     Injunctive relief preventing Defendants from removing, without such cause
       as is stated in the city’s Citizen Participation Plan Plaintiffs Burton and
       Speake from their elected offices within the Glen Iris Neighborhood
       Association and from any offices that they hold currently or in the future
       within the city’s Community Advisory Committees or Citizens Advisory
       Board;

4.     Monetary damages to compensate Plaintiffs for the troubles and suffering


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     incurred as a result of the false accusations lodged against them;

5.   Costs of suit herein incurred under 42 U.S.C. § 1988, including reasonable
     attorneys' fees;

6.   All such other and further relief as the court may deem just and proper.

                           DEMAND FOR JURY TRIAL

                                       Done this the 28th day of September, 2023.



                                                                 /s/Richard A. Rice
                                                                    Richard A. Rice

                                                                 Richard A. Rice
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                               JURY DEMAND




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